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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES -- GENERAL

Case No.         CV 21-7097-JFW(Ex)                                       Date: September 24, 2021

Title:           Tarek Graves, et al.-v- Warren Stanley, et al.


PRESENT:
                 HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

                 Shannon Reilly                              None Present
                 Courtroom Deputy                            Court Reporter


ATTORNEYS PRESENT FOR PLAINTIFFS:                    ATTORNEYS PRESENT FOR DEFENDANTS:
              None                                                 None

PROCEEDINGS (IN CHAMBERS):                ORDER TO SHOW CAUSE RE: STANDING ORDER

        The Court has reviewed the docket in this action and determined that counsel for Plaintiff
has failed to file the Declaration of Lead Counsel required by paragraph 3 of the Court’s Standing
Order. Accordingly, counsel is ordered to show cause in writing by September 28, 2021 why the
Court should not impose sanctions in the amount of $750.00 for violating the Court's Standing
Order. No oral argument on this matter will be heard unless otherwise ordered by the Court. See
Fed. R. Civ. P. 78; Local Rule 7-15. The Order to Show Cause will stand submitted upon the filing
of the response to the Order to Show Cause. Failure to respond to the Order to Show Cause will
result in the imposition of sanctions. In addition, counsel shall file the required Declaration on or
before September 28, 2021.


          IT IS SO ORDERED.




(Rev. 5/18/21)                                                                  Initials of Deputy Clerk sr
